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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION
Bahia Amawi, John Pluecker, Obinna Dennar,         §
Zachary Abdelhadi, George Hale                     §   CIVIL NO:
                                                   §   AU:18-CV-01091-RP
vs.                                                §
                                                   §
Pflugerville Independent School District, Ken
Paxton, Board of Regents of the University of
Houston System, Trustees of the Klein
Independent School District, Trustees of the
Lewisville Independent School District, Board of
Regents of the Texas A&M University System


             LIST OF WITNESSES- Motions Hearing 3/29/19

BY      PLAINTIFF                              BY       DEFENDANT
1.      Bahia Amawi                            1.
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